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 1 SALVATORE SCIANDRA, Bar No. 58256
     Law Offices of Salvatore Sciandra
 2 2300 Tulare Street, Suite 230
     Fresno, California 93721
 3 Telephone: 559.233.1000
     Facsimile: 559.233.6044
 4 E-Mail: salsciandra@sbcglobal.net
 5 Attorney for Defendant, CHARLOTTE MILLER
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 7
 8                                 UNITED STATE DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10                                                 )   Case No. 1:14-CR-00103-LJO/SKO
     UNITED STATES OF AMERICA,                     )
11                                                 )   ORDER
                   Plaintiff,                      )
12                                                 )
     v.                                            )
13                                                 )
     CHARLOTTE MILLER,                             )
14                                                 )
                   Defendant.                      )
15                                                 )
                                                   )
16
17
18           The defendant, CHARLOTTE MILLER, having been fully advised of her right to be

19 present at the Status Conference Hearing in the above-entitled matter set for Monday, August 4,
20 2014 at the hour of 1:00 p.m. in the courtroom of the Honorable Sheila K. Oberto has waived her
21 right to be present pursuant to the attached Waiver of Personal Appearance dated and signed by
22 defendant CHARLOTTE MILLER on May 28, 2014. IT IS HEREBY ORDERED that the
23 defendant is excused from appearing on August 4, 2014.
24
     IT IS SO ORDERED.
25
26        Dated:   June 6, 2014                             /s/ Sheila K. Oberto
                                                   UNITED STATES MAGISTRATE JUDGE
27
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